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                                                                             BACKGROUND
Motions, Pleadings and Filings                              I. Factual Background [FN1]

Only the Westlaw citation is currently available.
                                                                     FN1. The facts recited in this section are
                                                                     based upon the submissions of the parties
                                                                     and should not be construed as findings of
            United States District Court,                            the Court.
                  D. Minnesota.

    In re: ST. JUDE MEDICAL, INC. SILZONE                    Defendant St. Jude Medical, Inc. ("St.Jude"), a
    HEART VALVES PRODUCTS LIABILITY                         company with headquarters and manufacturing
                   LITIGATION                               facilities in Minnesota, manufactures a variety of
                                                            medical devices including prosthetic heart valves.
            No. MDL 01-1396 JRTFLN.                         Such valves are surgically implanted into patients
                                                            whose natural valves have been damaged by disease.
                   March 27, 2003.                          Among St. Jude's products is the "Silzone" heart
                                                            valve, which has a coating of silver on the sewing
J. Gordon Rudd, Jr. and Charles S. Zimmerman,               cuff, the part of the valve that is sewn to the patient's
Zimmerman Reed, P.L . L.P., Minneapolis, MN;                body. Aside from the silver coating, the Silzone valve
Steven E. Angstreich, Michael Coren, and Carolyn            is essentially the same as other St. Jude heart valves
Lindheim, Levy, Angstreich, Finney, Baldante,               that have been approved by the U .S. Food and Drug
Rubenstein & Coren, P.C., Woodcrest Pavilion,               Administration ("FDA") since 1995. Because silver
Cherry Hill, NJ; James T. Capretz, Capretz & Assoc.,        has been known to have anti-microbial properties, St.
Newport Beach, CA; and Joe D. Jacobson, Green,              Jude introduced the silver-coated valves to combat
Schaaf & Jacobson, P.C., St. Louis, MO, for                 endocarditis, a potentially life-threatening infection
plaintiffs.                                                 of the cardiac tissue that is a well-known possible
                                                            consequence of prosthetic heart valve implantation.
Tracy J. Van Steenburgh, Halleland, Lewis, Nilan,
Sipkins & Johnson, Minneapolis, MN; James C.                 The FDA approved the Silzone valve for commercial
Martin and David E. Stanley, Reed Smith Crosby              distribution on March 24, 1998. As part of this
Heafey LLP, Los Angeles, CA; Steven M. Kohn,                approval, however, the FDA prohibited St. Jude from
Reed Smith Crosby Heafey LLP, Oakland, CA, for              claiming that the Silzone coating would reduce the
defendant.                                                  risk of endocarditis, as no clinical tests had been
                                                            performed to study this claim. [FN2] After the FDA
                                                            approved the Silzone valve, St. Jude sponsored the
  MEMORANDUM OPINION AND ORDER ON                           Artificial Valve Endocarditis Reduction Trial
   MOTION FOR CLASS CERTIFICATION                           ("AVERT") study, a multinational clinical trial
                                                            designed to study whether the Silzone-coated heart
TUNHEIM, J.                                                 valve reduced the incidence of endocarditis in
                                                            humans. Approximately 36,000 Silzone valves have
 *1 On April 18, 2001, the cases comprising this            been implanted in patients worldwide, with
multidistrict litigation were transferred to this Court     approximately 10,535 of these in the United States.
by the Judicial Panel on Multidistrict Litigation for       AVERT was originally intended to involve 4,400
consolidated pretrial proceedings under 28 U.S.C. §         heart valve patients. However, the study enrolled
1407. This matter is now before the Court on                only 792 patients, with approximately half of those
plaintiffs' motion for class certification pursuant to      receiving Silzone-coated valves and another half, the
Rule 23 of the Federal Rules of Civil Procedure. For        control group, receiving conventional (non-Silzone)
the reasons discussed below, plaintiffs' motion is          valves. The results of AVERT are reviewed by an
granted in part and denied in part.                         independent monitoring board.



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                                                            (the "monitoring class") is comprised of every patient
         FN2. The FDA also required that all labels         in the United States who still has a Silzone valve
         bearing the name "Silzone" must carry the          implanted. Because explantation surgery is not
         following statement: "No clinical studies          advised for all patients, many Silzone valve
         have been performed to evaluate the effect         recipients still have the Silzone valve. Class I seeks
         of the Silzone coating in reducing the             equitable relief in the form of a medical monitoring
         incidence of endocarditis." (Pl.Ex. 10.)           program that would watch for side effects associated
                                                            with defective heart valves. This would include an
                                                            epidemiological program to collect data and study the
 In January 2000, the AVERT monitoring board                effects of the Silzone valves. This monitoring
reported that recipients of the Silzone valve were          program would be paid for by a trust account funded
more likely to experience a complication called             by St. Jude.
paravalvular leak, [FN3] requiring the prosthetic
valve to be removed and replaced with another valve,         Class II (the "injury class") consists of all people in
compared to recipients of conventional valves. The          the United States who received a Silzone valve and
data showed that 2 percent of AVERT participants            who have sustained physical injuries due to the valve,
with Silzone valves required such an "explant," while       including but not limited to injuries requiring
only .25 percent of participants with conventional          explantation surgery and injuries resulting in death.
valves required the procedure. On January 21, 2000,         Class II seeks money damages. [FN5]
the monitoring board decided to suspend enrollment
in the AVERT trial because of this increase in
paravalvular leak. [FN4] On the same day, St. Jude                   FN5. It is possible that a person will be a
voluntarily recalled all unimplanted Silzone products.               member of both classes. For example, some
As part of the recall, St. Jude immediately notified                 plaintiffs may have suffered injuries due to
hospitals and physicians, instructing them not to use                the Silzone valve but still have the valve
Silzone products. St. Jude also sent letters regarding               implanted.
the care and management of patients with implanted
Silzone valves, and established a reimbursement
program to pay for uninsured medical costs                                        ANALYSIS
associated with the detection, diagnosis and treatment
of paravalvular leak.                                        To qualify for class treatment, an action must first
                                                            satisfy the threshold requirements of Federal Rule of
                                                            Civil Procedure 23(a), and must then satisfy one of
         FN3. Paravalvular leak involves leakage at         the three subsections of Rule 23(b). Plaintiffs seek
         the point where a heart valve is sutured to a      certification of all claims by both classes pursuant to
         patient's tissue.                                  Rule 23(b)(3) of the Federal Rules of Civil
                                                            Procedure. Plaintiffs also seek certification of Class I
                                                            pursuant to Rules 23(b)(1)(A) and 23(b)(2). District
         FN4. Although enrollment in AVERT was              courts have broad discretion to decide whether or not
         suspended, the participants continue to be         to certify a class under Rule 23. Lockwood Motors,
         monitored, and data are still collected and        Inc. v. General Motors Corp., 162 F.R.D. 569, 573
         studied.                                           (D.Minn.1995).

                                                             Part I of this Order analyzes the threshold
II. Procedural History and Class Structure                  requirements of Rule 23(a). Part II analyzes whether
                                                            the proposed classes merit certification under any of
 *2 The MDL plaintiffs filed a Consolidated                 the three provisions of Rule 23(b) that are at issue in
Amended Class Action Complaint in this Court on             this case.
October 22, 2001. The complaint alleges five causes
of action, including counts of strict liability, breach     I. Requirements of Rule 23(a)
of implied and express warranties, negligence,
medical monitoring, and violation of Minnesota's            A. Numerosity
consumer fraud and deceptive trade practices statutes.
                                                            St. Jude does not dispute that both proposed classes
 Plaintiffs seek certification of two classes. Class I      meet the numerosity requirements of Rule 23(a)(1).

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Class I consists of approximately 10,535 individuals,        same allegations regarding risk of injury stemming
and plaintiffs estimate that Class II consists of more       from the valve. Likewise, named Class II plaintiffs
than 1,000 individuals. The Court determines that            allege that they have all sustained some injury due to
joinder of all members of either proposed class would        the Silzone valves that were formerly implanted in
be impracticable, and therefore concludes that               them. St. Jude argues that because each plaintiff's
plaintiffs satisfy the numerosity requirement.               case has different factual circumstances, such as
                                                             varying types of care, treatment, and magnitude of
B. Commonality                                               alleged injuries, no plaintiff is typical of all class
                                                             members.
 Rule 23(a)(2) requires that there be "questions of law
or fact common to the class." This requirement is             St. Jude is certainly correct that none of the
satisfied when the legal question linking the class          plaintiffs' cases are factually identical. These
members is substantially related to the resolution of        arguments, however, are more relevant to the Court's
the litigation even though the individuals may not be        Rule 23(b)(3) analysis. See Lutheran Brotherhood,
identically situated. DeBoer v. Mellon Mortgage Co.,         201 F.R.D. at 459-60 (noting that factual variations
64 F.3d 1171, 1174 (8th Cir.1995). Commonality               are less relevant to typicality analysis than to
may be satisfied where one issue pervades all the            questions of predominance and superiority). Even if
class members' claims. Paxton v. Union Nat'l Bank,           the named plaintiffs' cases do exhibit different factual
688 F.2d 552, 561 (8th Cir.1982). St. Jude contends          circumstances, each of them clearly arises "from the
that any claim of commonality in this case is "blurred       same event or practice or course of conduct that gives
by a host of individual queries." (Def. Br. at 35.)          rise to the claims of the other class members and [is]
Plaintiffs respond that there is at least one significant    based on the same legal theor[ies]." Hurd v.
question that links all the class members' claims --         Monsanto Co., 164 F.R.D. 234, 239 (S .D. Ind.1995).
whether a defect caused by adding the Silzone                Specifically, all of the plaintiffs' contentions arise
coating to the St. Jude heart valves caused or risks         from St. Jude's design, manufacture, marketing, and
certain injuries. While St. Jude is correct that there       sales of the Silzone valve. These contentions address
may be individual variations in the factual                  the ultimate question in the lawsuit, and the Court
circumstances of some class members, that is not             finds that they satisfy the typicality requirement.
enough to defeat commonality. The Court finds that
the question of the Silzone valve's alleged defect is        D. Adequacy of Representation
common to all members of both classes, and that
Rule 23(a)(2) is therefore satisfied.                         The final requirement of Rule 23(a) is that "the
                                                             representative parties will fairly and adequately
C. Typicality                                                protect the interests of the class." Fed.R.Civ.P.
                                                             23(a)(4). This rule has two requirements. First, the
 *3 The Rule 23(a)(3) typicality requirement requires        representatives' attorneys must be able and willing to
a "demonstration that there are other members of the         prosecute the action competently and vigorously.
class who have the same or similar grievances as the         Second, each representative's interest must be
plaintiff." Donaldson v. Pillsbury Co., 554 F.2d 825,        "sufficiently similar to those of the class that it is
830 (8th Cir.1977); In re Lutheran Brotherhood               unlikely that their goals and viewpoints will diverge."
Variable Ins. Prod. Co. Sales Practices Lit., 201            Parkhill v. Minnesota Mutual Life Ins. Co., 188
F.R.D. 456, 459 (D.Minn.2001). The burden is "fairly         F.R.D. 332, 339 (D.Minn.1999).
easily met so long as other class members have
claims similar to the named plaintiff." DeBoer, 64            St. Jude does not challenge the adequacy of
F.3d at 1174. Moreover, "[f]actual variations in the         plaintiffs' counsel. It does, however, contend that a
individual claims will not normally preclude class           conflict of interest could arise between plaintiffs, and
certification if the claim arises from the same event        that this potential conflict makes the representative
or course of conduct as the class claims, and gives          plaintiffs inadequate. St. Jude points to Thompson v.
rise to the same legal or remedial theory." Alpern v.        American Tobacco Co., Inc., 189 F.R.D. 544
UtiliCorp United, Inc., 84 F.3d 1525, 1540 (8th              (D.Minn.1999), in support. In that case, the court
Cir.1996).                                                   found the representatives of a proposed class of
                                                             cigarette smokers to be inadequate because a conflict
 The named plaintiffs contend that their claims are          of interest could arise between plaintiffs. Id. at 551.
typical because each representative has at least one         Thompson, however, is inapposite because the class
Silzone valve implanted, and therefore makes the             in that case was structured far differently than the

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proposed classes here. The proposed class in                 risk of inconsistent or varying adjudications that
Thompson encompassed people who had smoked a                 would establish incompatible standards of conduct
cigarette manufactured by the defendant and wished           for the party opposing the class. [FN6]
to participate in a smoking cessation and/or medical
monitoring program. Id. at 548. Thus, the proposed
class included people who had smoked only one                         FN6. The master complaint in this case also
cigarette up to current smokers who suffered from                     alleges that class certification is appropriate
smoking-related illnesses. Id. However, even though                   under Rule 23(b)(1)(B). However, plaintiffs
the proposed class encompassed people with                            have stated that they are not moving for
smoking-related illnesses, the plaintiffs sought to                   certification under Rule 23(b)(1)(B), so the
expressly reserve from the class any claims for                       Court will not analyze that rule.
personal injury. Id. The Court found that this effort to
tailor the class to achieve certification could
jeopardize class members' future claims for personal         A. Common Law Claims
injuries, if a subsequent court found that any class
action decision was res judicata. Id. at 550-551.            1. Rule 23(b)(3)--Both Classes

 *4 In this case, the proposed classes are not nearly so      Plaintiffs seek certification of both classes pursuant
wide-ranging as the single omnibus class in                  to Rule 23(b)(3). This rule has two primary
Thompson. Here, plaintiffs have divided the classes          requirements: (1) that common questions of law or
between those who have suffered some injury                  fact predominate over any questions affecting only
traceable to a Silzone valve and those for whom              individual class members; and (2) that a class action
injury is a mere possibility. The class makes no             is superior to other available methods of adjudicating
explicit reservation of the kind used in Thompson.           the controversy. Fed.R.Civ.P. 23(b)(3). St. Jude
Plaintiffs contend that there is no conflict of interest     argues that certification under Rule 23(b)(3) is not
between them because they all seek to "prov[e] St.           appropriate because there are too many factual and
Jude's wrongful conduct and establish[ ] St. Jude's          legal differences among the class members, thus
liability" for monitoring for Class I and damages for        destroying predominance. St. Jude also contends that
Class II. (Pl. Br. at 35.) The Court agrees, and finds       a class action would not be a superior method of
that plaintiffs all have the same incentive to pursue        adjudicating either class's allegations because of the
claims against St. Jude. The Court finds no conflict of      inherent difficulties in dealing with the laws of many
interest that would render plaintiffs inadequate             states.
representatives of their classes. Therefore, the
adequacy component of Rule 23 is satisfied.                  a. Predominance

 The Court finds that plaintiffs have satisfied all the       The Court has already determined that common
threshold requirements of Rule 23(a). The Court must         questions of law and fact exist in this case. Now it
now determine whether plaintiffs have satisfied any          must determine whether these common issues
component of Rule 23(b).                                     predominate over those unique to individual class
                                                             members. "There are no bright line rules to determine
II. Requirements of Rule 23(b)                               whether common questions predominate." In re
                                                             Select Comfort Corp. Securities Lit ., 202 F.R.D. 598,
 Plaintiffs seek certification under three provisions of     610 (D.Minn.2001). Rather, "the fundamental
Rule 23(b). They first seek to certify both classes          question is whether the group aspiring to class status
under Rule 23(b)(3), which permits certification             is seeking to remedy a common legal grievance."
where plaintiffs can show that common questions              Lockwood Motors, 162 F.R.D. at 580 (quoting 3B
predominate and that a class action is the superior          Moore's Federal Practice ¶ 23.45 (2d ed.1995)).
method to adjudicate the controversy. Plaintiffs also
seek to certify Class I, the monitoring class, under          *5 St. Jude argues that no set of facts is so "generic"
Rule 23(b)(2), which permits injunctive relief if            that it would be relevant to prove issues of liability,
plaintiffs can show that St. Jude acted or refused to        causation, and damages for either Class I or Class II.
act on grounds generally applicable to the class.            This argument is similar to that made by the
Finally, plaintiffs seek certification of Class I under      defendant in another medical device class action,
Rule 23(b)(1)(A), which provides for class                   Haley v. Medtronic, Inc., 169 F.R.D. 643
certification when separate actions would create a           (C.D.Cal.1996). Like the defendant in that case, St.

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Jude focuses on the fact that individual questions for
each plaintiff will be critical because each patient has      *6 First, this case involves only one product, the
unique medical circumstances causing him or her to           Silzone heart valve, manufactured by one company,
react differently to the Silzone valve. See id. at 650.      St. Jude. Cf. In re Ford Motor Co. Vehicle Paint Lit.,
Like the court in Haley, this Court rejects St. Jude's       182 F.R.D. 214, 219-20 (E.D.La.1998) (finding that
argument because it "ignores the fact that plaintiffs'       common issues did not predominate in paint defect
claims actually focus on [St. Jude's] liability and [St.     action because case did "not involve a single failure
Jude's] conduct with regard to the [Silzone valves]--        event or a simple, fungible product," but a course of
not on their effect on the plaintiffs." Id. Plaintiffs'      conduct over seven years, different vehicles,
allegations do not relate to any course of conduct           materials, paints, and manufacturing facilities); In re
between St. Jude and the plaintiffs; they relate only to     American Medical Sys., Inc., 75 F.3d 1069, 1085-85
St. Jude's liability for its course of conduct in            (6th Cir.1996) (holding that common questions did
designing, manufacturing, marketing, and selling the         not predominate where plaintiffs' complaints
Silzone valves. The predominance inquiry therefore           involved multiple products); Harding v. Tambrands
focuses on questions relating to that conduct. Cf.           Inc., 165 F.R.D. 623, 629-31 (D.Kan.1996) (holding
Hum v.. Dericks, 162 F.R.D. 628, 639-40 (D. Hawaii           that common questions did not predominate in toxic
1995) (holding that individual patient issues                shock syndrome case where defendants manufactured
predominate where crux of plaintiffs' complaint did          a number of different styles of tampons); Yandle v.
not involve manufacturer's liability or defective            PPG Indus., Inc., 65 F.R .D. 566, 570-71
nature of device, but on physicians' implantation of         (E.D.Tex.1974) (holding that common questions did
the device). "When determining whether common                not predominate in asbestos exposure case because
questions predominate, courts focus on the liability         plaintiffs were employed over 10-year period,
issue ... and if the liability issue is common to the        worked in different positions, used varying forms of
class, common questions are held to predominate              protection, and were exposed to different
over individual questions." Select Comfort Corp., 202        concentrations of toxin). Second, as in Telectronics,
F.R.D. at 610 (citation and internal quotation marks         plaintiffs allege only one defect--the inclusion of the
omitted). See also In re Telectronics Pacing Systems,        Silzone coating on the sewing cuff of St. Jude's heart
Inc., 172 F.R.D. 271, 288 (S.D.Ohio 1997)                    valves. See Telectronics, 172 F.R.D. at 288. Cf.
("Numerous courts have found that common issues              American Medical Sys., 75 F.3d at 1080-81, 1085-85
predominate when a large number of lawsuits arise            (holding that common questions did not predominate
from a single disaster or single course of conduct.")        where plaintiffs did not identify a defect common to
Because St. Jude's course of conduct was uniform             all plaintiffs).
across all plaintiffs of both classes, the Court agrees
with plaintiffs that common questions of fact and law         Finally, as in Telectronics, causation is not "the
predominate for each class.                                  overarching issue that requires extensive individual
                                                             proof." Telectronics, 172 F.R.D. at 288. The court in
 St. Jude argues that plaintiffs do not satisfy the          that case found that a single course of conduct--the
predominance requirement, noting that medical                manufacture or design of the device at issue--was
product liability actions are rarely certified as class      probably the reason for the defect and resultant
actions. Although this is generally true, the cases that     injuries to plaintiffs. Id. at 289. In that case, the
St. Jude cites are markedly different from the present       defendant-manufacturer recalled all of the
case, as will be shown below. Instead, the Court finds       unimplanted devices. Id . Soon after, the FDA found
this case to be more similar to the Telectronics             that the device presented an unreasonable danger to
litigation, in which a 23(b)(3) class was certified          the public health. Id. The facts in this case are very
despite "the general rule that medical products              similar. Here, following information from the
liability actions require extensive proof of                 AVERT study indicating a higher rate of explantation
individualized is sues." Id. In Telectronics, the court      due to paravalvular leak, St. Jude recalled all of its
found that the "general rule" did not apply because          unimplanted Silzone valves. [FN7] Although the
the action involved only two products, one                   FDA made no proclamation regarding safety of the
manufacturer, one alleged defect, and did not raise          Silzone valve, several months before the recall, the
overarching questions of causation. Id. at 288-89.           British equivalent of the FDA, the Medical Devices
The Court finds that this case, like Telectronics,           Agency ("MDA"), issued a warning of possible
"does not involve many of the factual and legal              complications involving the Silzone valve. (See
complications [that] prevented certification in other        Pl.Ex. 21.) Furthermore, both prior to and following
medical products liability actions." Id. at 288.             the recall, scientific articles and studies were

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published noting that patients with Silzone valves           (M.D.Pa.1997), plaintiffs who lived near a battery
experienced greater likelihood of complications. (See,       crushing and lead processing plant sued the battery
e.g., Pl.Ex. 37, 49-50.) Although the facts of this case     company for injuries caused by lead exposure. Id. at
may not be as conclusive as in Telectronics, the             593. The court held that "the presence of ...
circumstances and the evidence produced by                   individualized factors affecting individual plaintiffs
plaintiffs convince the Court that the question of           ... wreaks havoc on the notion that all plaintiffs'
causation here is far closer to Telectronics than to the     injuries have been caused solely by the defendant's
cases that St. Jude cites.                                   actions." Id. at 602. The court specifically found that
                                                             individual questions of causation predominated
                                                             because there were many other possible sources of
         FN7. St. Jude correctly notes that its              plaintiffs' lead exposure besides the defendant's
         voluntary recall is no indication of fault or       facility. Id. at 603-04.
         liability. However, it can serve as evidence
         linking the Silzone valves to problems               In each of these cases, the individualized questions
         experienced by valve recipients.                    barring certification all involved the core of issue of
                                                             the case--plaintiffs' very exposure to the allegedly
                                                             harmful substances --be it addictive levels of drugs,
 *7 For example, in Fisher v. Bristol-Myers Squibb           toxic tampon material, PCBs, or lead. In this case, as
Co., 181 F.R.D. 365 (N.D.Ill.1998), cited by St.             in Telectronics, there is no question about plaintiffs'
Jude, the court found that individual questions of           exposure to the allegedly harmful device. Every
causation predominated in a case involving drug              plaintiff received a Silzone valve, and every plaintiff
addiction. Id. at 370-71. The court noted that               alleges that he or she was harmed, or faces a risk of
addiction is "not a simple concept" and that                 harm, from that valve. To be sure, individual issues
demonstrating addiction would "require each plaintiff        exist in this case, but questions about plaintiff's
to provide a substantial amount about his or her             medical history are not as crucial to this case as is,
medical history, emotional condition, and lifestyle...."     for example, the level of PCB exposure in a PCB
Id. at 370. Furthermore, the court found that plaintiffs     exposure case. The causation question here is far
would have to address a huge "variety of potential           simpler and unitary than in any of the cases that St.
harms plaintiffs might claim they suffered as a result       Jude cites, and as in Telectronics, is not an
of using [the drug]," ranging from cardiovascular            overarching issue requiring individual proof.
problems to clinical depression. Id.                         Therefore, the Court finds that common questions
                                                             predominate in plaintiffs' common law claims.
 In Harding v. Tambrands, which involved
allegations that defendants' tampons caused toxic             *8 St. Jude also contends that predominance is not
shock syndrome, the court found that causation               satisfied because individual questions of damages
would be an overwhelming issue because each                  overwhelm common issues. This argument applies
defendant marketed a number of different styles of           primarily to Class II, since all Class I plaintiffs seek
tampons. Harding, 165 F .R.D. at 630. Thus, each             the same relief.      [FN8] Still, this argument is
plaintiff would have to provide evidence of which            unavailing. It is well-established that "[n]o matter
particular tampon type caused her damages. Id.               how individualized the issue of damages may be,
                                                             these issues may be reserved for individual treatment
 St. Jude also relies upon Hurd v. Monsanto Co., in          with the question of liability tried as a class action."
which plaintiffs alleged damages from exposure to            Sterling v. Velsicol Chemical Corp., 855 F.2d 1188,
PCBs over as many as twenty years. Hurd, 164                 1197 (6th Cir.1988). Thus, the fact that each member
F.R.D. at 237. The court noted that "[u]ndeniably,           of Class II might request separate damages "is not
some class members have been exposed to PCBs for             necessarily fatal to class action treatment as long as
only a few months and at low levels, while others, for       common questions of law or fact running through
decades and at high levels." Id. at 240. The court           each claim predominate." Haley, 169 F.R.D. at 651
therefore found that individual questions of causation       (citation and internal quotation marks omitted).
would predominate because the case would require             Because the Court has already determined that
"an individual inquiry into the circumstances                common questions of law and fact predominate in
involving each class member's exposure and                   plaintiffs' common law claims, variations in damages
susceptibility." Id.                                         will not prevent a finding of predominance. See id.
                                                             See also Alpern, 84 F.3d at 1540 (holding that the
Finally, in Reilly v. Gould, Inc., 965 F.Supp. 588           fact that damage calculations might differ "is a minor

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matter" when the claims share "fundamental                             constitutional requirements to apply
similarities"); Select Comfort Corp., 202 F .R.D. at                   Minnesota law to this action are satisfied.
610 (noting that "courts frequently grant class                        See Phillips Petroleum Co. v. Shutts, 472
certification despite individual differences in class                  U.S. 797 (1985). In Shutts, the Court held
members' damages"); Telectronics, 172 F.R.D. at 290                    that "for a State's substantive law to be
("The      damage      issue,   although     requiring                 selected in a constitutionally permissible
individualized proof, does not preclude class                          manner, that State must have a significant
certification."); Minnesota v. U.S. Steel Corp., 44                    contact or significant aggregation of
F.R.D. 559, 571-72 (D.Minn.1968) (holding that                         contacts, creating state interests, such that
individual damage questions will not prevent a                         choice of its law is neither arbitrary nor
finding of predominance).                                              fundamentally unfair." Id. at 818. This Court
                                                                       agrees with plaintiffs that Minnesota has
                                                                       significant contacts by virtue of St. Jude
         FN8. The fact that individual Class I                         having its headquarters and manufacturing
         plaintiffs would have monitoring programs                     facilities in Minnesota, and because many of
         tailored to their needs is a question of the                  the decisions regarding the Silzone valve
         program's administration, not one of the                      were made by St. Jude in Minnesota.
         character or degree of relief.

                                                               *9 Federal courts sitting in diversity apply the forum
b. Superiority                                                state's choice-of-law rules. Klaxon Co. v. Stentor
                                                              Elec. Mfg. Co., 313 U .S. 487, 496 (1941); Nesladek
 In analyzing superiority, the Court primarily                v. Ford Motor Co., 46 F.3d 734, 736 (8th Cir.1996).
considers "the difficulties likely to be encountered in       Before proceeding with the choice-of-law analysis,
the management of a class action." Fed.R.Civ.P.               the court must determine that a conflict exists
23(b)(3). Here, the main factor affecting superiority         between the laws of the forums under consideration.
involves application of state law to plaintiffs' claims.      Nodak Mutual Ins. Co. v. American Family Ins. Co.,
Even if common questions of law exist, the                    604 N.W.2d 91, 93-94 (Minn.2000). Given that the
application of multiple state laws may render the case        common laws of negligence, strict liability,
unmanageable as a class action. Indeed, a number of           warranties, and monitoring of all 50 states are
courts in recent years have held that nationwide state        potentially implicated, the Court presumes that a true
law class actions are unmanageable and cannot be              conflict of laws exists. Minnesota has adopted the
certified. See, e.g., Andrews v. American Telephone           "significant contacts test" for choice of law analyses.
& Telegraph Co., 95 F.3d 1014, 1024-25 (11th                  Id. at 94; Nesladek, 46 F.3d at 738. This test consists
Cir.1996); Castano v. American Tobacco Co., 84                of the following choice-influencing factors: (1)
F.3d 734, 741-44 (5th Cir.1996); In re Rhone-                 predictability of results; (2) maintenance of interstate
Poulenc Rorer Inc., 51 F.3d 1293 (7th Cir.1995).              and international order; (3) simplification of the
                                                              judicial task; (4) advancement of the forum's
 St. Jude contends that such is the case here. It argues      governmental interest; and (5) application of the
that because plaintiffs reside in all 50 states , the law     better rule of law. Nodak, 604 N.W.2d at 94.
of each state must be at least analyzed, and likely
applied to the individual cases. St. Jude further              The first factor applies primarily to contractual and
contends that because each state has different laws           other "consensual transactions where the parties
and elements governing negligence, strict liability,          desire advance notice of which state law will govern
breach of warranty, and medical monitoring,                   in future disputes." Id. Minnesota courts have held
common questions of law will not predominate in               that the "unplanned nature" of accidents and, by
any nationwide case attempting to apply the law of            extension, torts, "lessens the importance of
all 50 states. Plaintiffs contend that it is not necessary    predictability of results" in such cases. Id. (quoting
to apply the laws of all 50 states, and that the Court        Hime v. State Farm Fire & Casualty Co., 284
should instead apply Minnesota law to the entire              N.W.2d 829, 833 (1979)). Thus, the Court finds that
case. Given this dispute over which law to apply, the         the first factor is not applicable in this tort case.
Court must conduct a conflict of laws analysis. [FN9]
                                                               The second factor, maintenance of interstate order, is
                                                              primarily concerned with whether application of one
         FN9. The Court notes that the minimal                state's law "would manifest disrespect" for the

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sovereignty of the state with conflicting law, or                     support of applying Minnesota law provide
would "impede the interstate movement of people                       no help. Choice of law considerations are
and goods." Jepson v. General Casualty Co. of Wis.,                   irrelevant in In re Lutheran Brotherhood
513 N.W.2d 467, 471 (Minn.1994). In tort cases, this                  Variable Ins. Prod. Co. Sales Practices Lit.,
factor is satisfied "as long as the state whose laws are              201 F.R.D. 456 (D.Minn.2001), because that
purportedly in conflict has sufficient contacts with                  case was an action under Minnesota statutes.
and interest in the facts and issues being litigated."                The other two cases, Peterson v. BASF
[FN10] Nesladek, 46 F.3d at 739. Given that St. Jude                  Corp., 618 N.W.2d 821 (Minn.Ct.App.2000)
is located in Minnesota and that many decisions                       and Heller v. Schwan's Sales Enterprises,
regarding the Silzone valves were made in this state,                 Inc., 548 N.W.2d 287 (Minn.Ct.App.1996)
the Court finds that Minnesota has sufficient contacts                do not help plaintiffs because they contain
to the litigation. Thus, this factor favors applying                  no analysis of relevant choice-of-law
Minnesota law. The third factor, simplification of the                considerations.
judicial task, would also seem to favor application of
Minnesota law, because it would be easier to apply
the law of one state rather than those of all fifty           *10 Although Minnesota clearly has significant
states.                                                      interests in applying its law to this case, the Court
                                                             cannot ignore the interests of states in which class
                                                             members were implanted with Silzone valves. These
         FN10. This standard is more exacting than           states' interests go beyond ensuring that their citizens
         the constitutional test of        Shutts. See       are compensated for alleged damages; the states also
         Nesladek v. Ford Motor Co., 46 F.3d 734,            have strong interests in applying their relevant laws
         739 (8th Cir.1995) (holding that a state can        to the marketing, sale, and implantation of medical
         have sufficient contacts to satisfy Shutts but      devices within their borders. See In re Diet Drugs
         not enough to satisfy the second choice-            Prod. Liability Lit., Civ. No. A98-20626, 1999 WL
         influencing factor).                                673066 at *15 (E.D.Pa. Aug. 26, 1999). Given the
                                                             potential diversity of state laws that apply to both
                                                             classes, the Court cannot find--and plaintiffs have not
 The fourth factor, advancement of the forum's               demonstrated--that       Minnesota's     governmental
governmental interests, is probably the most                 interests are more important than those of other
important. See id. at 738 (noting that some Minnesota        states. See Nesladek, 46 F.3d at 749. The Court finds
courts skip the first three factors). Plaintiffs contend     that this crucial factor militates against applying
that Minnesota's governmental interests favor                Minnesota law here. Therefo re, based upon this
application of Minnesota law, but plaintiffs' analysis       analysis of relevant factors, and recognizing the
is flawed. Although plaintiffs analyze Minnesota's           importance of the compared governmental interests,
interests under the choice-influencing factors, they do      the Court determines that it will apply the law of the
not compare Minnesota's interests with those of any          state in which each class member's claim arose to the
other state. Minnesota law, however, requires such a         members of the class. [FN12]
side-by-side comparison. Nesladek, 46 F.3d at 739
(noting that the governmental interests factor would
always favor choice of forum law unless the court                     FN12. The Minnesota Supreme Court
considers the relative policy interests of the two                    recently held that it has not placed any
states) (quoting Lommen v. City of East Grand Forks,                  emphasis on the fifth factor, the better rule
522 N.W.2d 148, 152 (Minn.Ct.App.1994)); Gate                         of law, for nearly 20 years. Nodak Mutual
City Fed. Sav. & Loan Ass'n v. O'Connor, 410                          Ins. Co. v. American Family Mutual Ins.
N.W.2d 448, 451 (Minn.1987); Myers v. Government                      Co., 604 N.W.2d 91, 96 (Minn.2000). This
Employees Ins. Co., 225 N.W.2d 238, 242                               court therefore finds it unnecessary to
(Minn.1974). Here, plaintiffs' analysis reveals that                  address this factor.
they gave serious consideration only to Minnesota's
governmental interests, arriving at the conclusory
determination that Minnesota law should apply.                St. Jude contends that applying the laws of fifty
[FN11]                                                       states to these classes would be so complicated as to
                                                             render the class unmanageable. Although many
                                                             courts have so held, no case has held that certification
         FN11. The three cases that plaintiffs cite in       of such classes is per se impossible. See, e.g., In re

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Bridgestone/Firestone, Inc., 288 F.3d 1012, 1016-18                    authority to divide a proposed class into
(7th Cir.2002) (holding that application of laws of all                subclasses. See Fed.R.Civ.P. 23(c)(4).
50 states renders class unmanageable); Andrews, 95
F.3d at 1024-25 (same); Castano, 84 F.3d at 741-44
(same); Rhone-Poulenc, 51 F.3d at 1293 (same).                2. Rule 23(b)(2)--Monitoring Class Only

 At least one court has addressed such variations in            St. Jude challenges certification of Class I under
state law by the creation of subclasses that group            Rule 23(b)(2) on three grounds. First, that plaintiffs
similar state laws together. See Telectronics, 172            do not have constitutional standing to bring a
F.R.D. at 290-94 (certifying nationwide negligence,           monitoring claim. Second, that monitoring is not an
strict liability, and medical monitoring classes). This       injunctive remedy and is therefore unavailable under
method would eliminate the problem of instructing             Rule 23(b)(2). Finally, St. Jude contends that diverse
one jury on the laws of all fifty states, while still         issues of state law undermine the cohesiveness of the
retaining the efficiencies of the class action procedure      class and prevent certification.
and fulfilling the collective-action purpose of Rule
23. See generally, Comment, Ryan Patrick Phair,               a. Article III Standing
Resolving the "Choice-of-Law Problem" in Rule
23(b)(3) Nationwide Class Actions, 67 U. Chi. L.Rev.           St. Jude first argues that the monitoring plaintiffs do
835, 851 (Summer 2000). To create appropriate                 not satisfy the constitutional requirements for
subclasses, the Court will have to evaluate which             standing under Article III of the U.S. Constitution.
variations in state law are "important or substantial         Plaintiffs bear the burden of establishing that they
enough to preclude class certification or require             have standing to bring the claim for medical
subclasses." Telectronics, 172 F.R.D. at 292. For             monitoring. Lujan v. Defenders of Wildlife, 504 U.S.
"while it is certainly true that state tort law varies, the   555, 559-60 (1992). This constitutional prerequisite
question under the superiority prong of Rule 23(b)(3)         must be met before a class certification inquiry can
is can the relevant variations be dealt with in a simple      commence because it determines the Court's very
and efficient manner." Id. The Court finds that the           power to hear the case. Rivera v. Wyeth-Ayers
superiority requirement can be met, and certification         Laboratories, 283 F.3d 315, 319 (5th Cir.2002). To
granted under Rule 23(b)(3) to various subclasses of          demonstrate standing under Article III, plaintiff must
the relevant causes of action. "[I]f the elements of the      satisfy three elements: (1) an "injury-in-fact;" (2) a
cause of action are the same and the legal standards          causal connection between such injury and St. Jude's
on 'important/meaningful/significant/pivotal' issues          conduct; and (3) a likelihood that a favorable
are substantially similar, the state laws can be              decision will redress the injury. Defenders of
grouped for purposes of class certification." Id. The         Wildlife, 504 U.S. at 560-61.
Court envisions a minimal number of subclasses, and
will find that only significant variations in state law        When analyzing standing at the class certification
will be sufficient to require different subclasses.           stage, the Court assumes the truth of facts alleged by
                                                              the plaintiff. Id.; Eisen v. Carlisle & Jacquelin, 417
 *11 It is evident from the parties' briefs that they did     U.S. 156, 178 (1974) (holding that preliminary
not focus on the possibility of certifying subclasses.        inquiry into merits of the case is not proper at class
Therefore, the Court will request briefing from the           certification stage). See In re Propulsid Prod.
parties on what minimum number and type of                    Liability Lit., 208 F.R.D. 133, 139 (E.D.La.2002)
subclasses would be appropriate for plaintiffs'               (noting that the standard is similar to that used under
negligence, strict liability, breach of warranty, and         Fed.R.Civ.P. 12(b)(6)).
monitoring claims. However, the Court now finds
that common issues of fact and law predominate for             St. Jude contends that plaintiffs do not have standing
both proposed classes, and conditionally finds that a         because they have not suffered an injury-in-fact.
class action is the superior method of adjudicating the       Such an injury must be concrete and particularized,
claims of both classes. Therefore, the Court will             and it must be actual or imminent, not conjectural or
conditionally certify plaintiffs' common law claims           hypothetical. Defenders of Wildlife, 504 U.S. at 560.
for both classes pursuant to Rules 23(b)(3) and (c)(4).       Furthermore, the injury may not be to a mere
[FN13]                                                        cognizable interest, but plaintiffs must show that they
                                                              were themselves among the injured. Sierra Club v.
                                                              Morton, 405 U.S. 727, 734-35 (1972).
         FN13.     Rule    23(c)(4) gives      the   court

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 St. Jude specifically argues that plaintiffs alleged                (S.D.Ohio 2001). Keeping in mind that at
"subclinical" injuries stemming from the implant of                  this stage plaintiffs need only properly
Silzone valves is not a sufficient basis for injury-in-              allege and support their claim, not prove it,
fact under Article III. Although the parties dispute                 Eisen v. Carlisle & Jacquelin, 417 U.S. 156,
whether the Silzone valves will have a permanent or                  178 (1974), the Court has avoided
long-term hazardous effect on implanted patients, at                 conducting a lengthy substantive analysis of
this early stage in the litigation the Court finds that              plaintiffs' experts, ensuring only that "the
Class I plaintiffs have satisfied their burden.                      basis of the expert opinion[s are] not so
Specifically, plaintiffs have alleged and provided                   flawed that [they] would be inadmissible as
evidence that the Silzone valve places them at                       a matter of law." In              re    Visa
increased risk of paravalvular leak and other                        Check/Mastermoney Antitrust Lit., 280 F.3d
complications. [FN14] "[C]ourts have long                            124, 135 (2d Cir.2001).
recognized that an increased risk of harm ... is an
injury in fact." Propulsid, 108 F.R.D. at 139. See
Friends For All Children, Inc. v. Lockheed Aircraft          *12 St. Jude does not dispute that plaintiffs have
Corp., 746 F.2d 816, 826 (D.C.Cir.1984) (holding            satisfied the remaining two requirements for Article
that the need for medical monitoring constitutes an         III standing, and the Court finds that they have been
injury-in-fact when the need is "supported by               satisfied. Causation is satisfied because plaintiffs
testimony of competent medical experts"); In re Paoli       have alleged an injury--the need for medical
R.R. Yard PCB Lit., 916 F.2d 829, 849-52 (3d                monitoring--that is fairly traceable to St. Jude's
Cir.1990) (holding that medical monitoring action           marketing and selling the Silzone valves that were
can be premised upon proof of exposure to hazardous         implanted in them, which plaintiffs claim are
substances resulting in the potential for injury). Cf.      defective. See Propulsid, 208 F.R.D. at 139. The
Rivera, 283 F.3d at 319 (holding that plaintiffs had        Court also finds that enacting a medical monitoring
not established injury-in-fact where they claimed           and research program would likely redress plaintiffs'
mere economic injury and did not allege that drug           alleged injuries--namely, a need for monitoring due
had any future health consequences). The Court finds        to increased risk of complications. Therefore, the
that plaintiffs have adequately supported their             Court concludes that Class I plaintiffs have standing
allegations of "monitoring injury," and therefore that      to pursue their medical monitoring claim. [FN15]
they satisfy the injury-in-fact standard. (See
Abramson Dec., Pl.Ex. 28; Tyers Dec., Pl.Ex. 37.)
See also Friends For All Children, 746 F.2d at 826                   FN15. St. Jude also argues that there is a
(describing a person's "interes t in avoiding expensive              "lack of need" for plaintiffs' requested
diagnostic examinations").                                           medical monitoring, and even suggests that
                                                                     the proposed monitoring may itself be
                                                                     dangerous. (See Def. Opp. Br. at 60-62.) The
         FN14. Plaintiffs have submitted testimony                   Court finds that this question involves the
         by medical experts supporting their claim                   merits of plaintiffs' claim, and is therefore
         for medical monitoring. (See, e.g.,                         not appropriate to consider at the class
         Abramson Dec., Pl.Ex. 28; Tyers Dec.,                       certification stage. See Eisen, 417 U.S. at
         Pl.Ex. 37.) The admissibility of some of this               178.
         evidence was extensively debated prior to
         the hearing on class certification. The Court,
         in denying plaintiffs' motion to exclude St.       b. Monitoring--Injunctive or Legal Relief?
         Jude's objections to their medical expert
         testimony, ruled that a full analysis of the        Plaintiffs may be eligible for relief under Rule
         medical expert evidence under Daubert v.           23(b)(2) when the party opposing certification has
         Merrill Dow Pharmaceuticals, 509 U.S. 579          acted or refused to act on grounds generally
         (1993), is not appropriate at this time. (See      applicable to the class. Fed.R.Civ.P. 23(b)(2);
         6/25/02 Status Conference Tr. at 30.)              DeBoer, 64 F.3d at 1175. St. Jude contends that Class
         Nevertheless, the Court has carefully              I may not be certified under this rule because
         scrutinized plaintiffs medical evidence to         plaintiffs do not seek equitable relief. Class
         determine whether it supports class                certification under Rule 23(b)(2) is only appropriate
         certification. See Bacon v. Honda of               where the primary relief sought is declaratory or
         America Mfg., Inc., 205 F.R.D. 469-71              injunctive, and certification is unavailable where the

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"principal relief sought is money damages." Haley,           Such are the circumstances in this case. Plaintiffs
169 F.R.D. at 647. [FN16] St. Jude claims that               allege that the silver coating on the Silzone valves
because the proposed medical monitoring trust fund           has increased the risk of injury to the members of
would be paid for by St. Jude, the medical monitoring        Class I, and their proposed monitoring program
claim is equivalent to one for money damages.                includes research and information sharing
                                                             components. Thus, the Court finds that Werlein
                                                             supports the conclusion that plaintiffs' monitoring
         FN16. The Advisory Committee Note to                claim seeks equitable relief and may therefore be
         Rule 23(b)(2) explicitly states that the rule       certified under Rule 23(b)(2). See Craft v. Vanderbilt
         "does not extend to cases in which the              Univ., 174 F.R.D. 396, 406-07 (M.D.Tenn.1996)
         appropriate final relief relates exclusively or     (holding that an action for court-supervised medical
         predominately      to     money      damages."      monitoring qualifies as injunctive under Rule
         Fed.R.Civ.P. 23(b)(2) Adv. Comm. Note.              23(b)(2)); Yslava v. Hughes Aircraft Co., 845 F.Supp.
                                                             705, 713 (D.Ariz.1993) (same).

 In this case, plaintiffs do not ask St. Jude to pay a        *13 Despite the equitable nature of medical
sum of money, nor do they request an order directing         monitoring, plaintiffs' monitoring claim would still be
St. Jude to pay their medical expenses directly. See         inappropriate under Rule 23(b)(2) if plaintiffs also
Day v. NLO, Inc., 144 F.R.D. 330, 335 (S.D.Ohio              sought such significant monetary relief that the
1992), vacated on other grounds, In re NLO, 5 F.3d           equitable monitoring claim became merely
154 (6th Cir.1993). Rather, plaintiffs ask the Court to      "incidental to the larger claims for damages." In re
establish a medical monitoring program that is               Copley Pharmaceutical, Inc., 158 F.R .D. 485, 490-
managed by the Court and in which the medical data           91 (D.Wyo.1994). See Allison v. Citgo Petroleum
is utilized for group studies. Just because St. Jude--if     Corp ., 151 F.3d 402, 415 (5th Cir.1998). In this case,
found liable--would have to pay for such relief does         however, Class I plaintiffs seek primarily injunctive
not eliminate the injunctive nature of this remedy.          relief. The only portion of Class I's complaint that
See id. at 336. See also In re NLO, 5 F.3d at 159            seeks monetary damages is the claim for restitution
(holding that medical monitoring claims are generally        under Minnesota's consumer protection laws. (See
injunctive in nature).                                       Complaint ¶ 78.) Although this count seeks a refund
                                                             of money paid for Silzone products and certain
 Both parties claim support from Werlein v. United           consequential damages, it nevertheless is clear from
States, 746 F.Supp. 887 (D.Minn.1990), vacated in            the record and the pleadings that plaintiffs' major
part on other grounds, 793 F.Supp. 898                       concern is whether the Silzone-coated valves are
(D.Minn.1992). Werlein, however, makes clear that            defective. See In re Telectronics Pacing Systems,
the relief plaintiffs seek here is injunctive. In that       Inc., Accufix Atrial "J" Leads Prod. Liability Lit., 164
case, plaintiffs sought an order forcing defendants "to      F.R.D. 222, 229 (S.D.Ohio 1995) (certifying a class
pay a lump sum of cash into a fund, and ... persons          under Rule 23(b)(2) where plaintiffs sought monetary
eligible for medical monitoring [would] use that pot         and injunctive relief, but plaintiffs' "major concern"
of cash to obtain reimbursement" for their medical           addressed whether medical device was defective). In
screenings. Id. at 895. The court held that this             Haley, the court refused to certify a monitoring class
proposed fund was nothing "besides an exchange of            under Rule 23(b)(2) where the action "was not
money," and therefore could not be authorized as             brought with the purpose of identifying whether the
injunctive relief. Id. In this case, however, plaintiffs     [medical devices] in question were defective or not,
propose no "pot of cash" and no reimbursements.              like the court in Telectronics assumed ... but to
Rather, they propose a unified monitoring program            recover from defendant for selling these defective
administered by the Court and paid for by a trust            [devices]." Haley, 169 F.R.D. at 657. The present
funded by St. Jude. The program also has provisions          case is like Telectronics, in that plaintiffs seek
for    research,     epidemiological     studies,   and      primarily a monitoring and epidemiological program;
information sharing. The Werlein court recognized            the crux of their action is not money damages or
that "where a number of persons are exposed to a             treatment of future illness. See Zinser v. Accufix
toxin about which little is known, and it is necessary       Research Institute, Inc., 253 F.3d 1180, 1195-96 (9th
to gather and share information regarding diagnosis          Cir.2001), superceded on other grounds, 273 F.3d
and treatment through screening, the Court would             1266 (denying certification of monitoring class where
consider framing a medical monitoring and                    plaintiffs sought a fund that would pay for future
information sharing program as injunctive relief." Id.       medical treatment, plus other compensatory and

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punitive damages). Indeed, in the majority of cases         individual issues abound." Thompson, 189 F.R.D. at
that St. Jude cites in opposing 23(b)(2) certification,     557. See Barnes v. American Tobacco Co ., 161 F.3d
the plaintiffs also sought significant monetary             127, 143 (3d Cir.1998); In re Rezulin Prod. Liability
damages. See Duncan v. Northwest Airlines, Inc., 203        Lit., 210 F.R.D. 61, 75 (S.D.N.Y.2002); Diet Drugs,
F.R.D. 601, 610-11 & n. 10 (W.D.Wash.2001)                  1999 WL 673066 at *14 (noting that Rule 23(b)(2)
(denying certification of monitoring class where the        requires that "the class be entitled to the same
plaintiff's desired relief "always focused on damages       relief"). This requirement recognizes that "the claims
and a fund of money," and where plaintiff sought no         contemplated in a(b)(2) action are class claims,
research or information sharing program); Dhamer v.         claims resting on the same grounds and applying
Bristol-Myers Squibb Co., 183 F.R.D. 520, 529               more or less equally to all members of the class."
(N.D.Ill.1998) (denying certification of medical            Holmes v. Continental Can Co., 706 F.2d 1144, 1155
monitoring claim where plaintiffs' requested damages        (11th Cir.1983) (emphasis original). This assumed
for emotional distress, fraud, refund, punitive and         cohesiveness is one basis for the less stringent
exemplary damages showed that the "crux of the              requirements of Rule 23(b)(2), which does not
action [was] for money damages"); Smith v. Brown &          generally require individual notice and does not
Williamson Tobacco Corp., 174 F.R.D. 90, 100                permit members to opt out of the lawsuit. Id.; Allison,
(W.D.Mo.1997) (refusing to certify class under              151 F.3d at 413- 14.
23(b)(2) where plaintiff's "many other claims for
monetary relief demonstrate[d] that monetary relief is       St. Jude primarily contends that there are too many
the predominate relief sought"). Because Class I            individual factual and other issues among the
plaintiffs primarily seek to implement a court-             members of the monitoring class, and that these
supervised program requiring ongoing, elaborate             differences destroy any common interest across the
medical monitoring, and do not seek money damages,          class. Although St. Jude is correct that a raft of
the Court finds that the requested relief is                individual issues can destroy a class's cohesiveness,
predominantly injunctive. [FN17]                            St. Jude focuses here on superficial factual
                                                            differences between the class members, wh ile the
                                                            cases it cites emphasize the nature of the relief
         FN17.      Plaintiffs'   briefs   and     oral     sought. "The underlying premise of the (b)(2) class--
         presentations sought medical monitoring            that its members suffer from a common injury
         only for Class I. The master complaint,            properly addressed by class-wide relief'begins to
         however, appears to seek monitoring for            break down when the class seeks to recover ... forms
         Class II, the "injury class." For the reasons      of monetary relief to be allocated based on individual
         discussed above, Class II cannot be certified      inquiries." ' Allison, 151 F.3d at 413 (quoting
         under Rule 23(b)(2). It is clear from the          Eubanks v. Billington, 110 F.3d 87, 95
         entire record and plaintiffs' presentations        (D.C.Cir.1997). Courts have thus suggested that
         that Class II seeks primarily compensatory         individual issues destroy cohesiveness primarily
         money damages, and that these clams                when parties assert monetary claims, which require
         predominate over any medical monitoring or         individual factual determinations and therefore
         other injunctive relief. See Allison v. Citgo      mandate "enhanced procedural safeguards to protect
         Petroleum Corp., 151 F.3d 402, 415 (5th            the individual rights of class members." Allison, 151
         Cir.1998). Therefore, to the extent that           F.3d at 413. See Lemon v. International Union of
         plaintiffs seek certification of Class II          Operating Engineers, Local No. 139, AFL-CIO, 216
         pursuant to Rule 23(b)(2), that certification      F.3d 577, 580 (7th Cir.2000) ("A suit for money
         will be denied.                                    damages, even if the plaintiffs seek uniform, class-
                                                            wide equitable relief as well, jeopardizes [the]
                                                            presumption of cohesion ... because individual claims
c. Cohesiveness of Proposed Class                           for compensatory or punitive damages typically
                                                            require judicial inquiry into the particularized merits
 *14 St. Jude next contends that even if plaintiffs         of each individual plaintiff's claim."). In this case, as
satisfy the requirements for injunctive relief, the         discussed above, plaintiffs' action for medical
proposed monitoring class may not be certified              monitoring is injunctive in nature, and the Court has
because it is not cohesive. Although Rule 23(b)(2)          determined that any claim for monetary relief is
has no predominance or superiority requirements, the        merely incidental. Therefore, because individual
rule does include "an implicit 'cohesiveness'               questions of monetary relief will not arise for Class I,
requirement, which precludes certification when             its cohesivenes s is not impaired.

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                                                             demonstrate a "manifest physical or mental injury or
 *15 St. Jude does note that even if the requested           disease" from recovering for a medical monitoring
relief is injunctive, individual factual questions may       claim).
abound that would destroy cohesiveness. St. Jude
particularly relies upon two smoking-related actions,         Here, as in Diet Drugs, the Court must first
Barnes v. American Tobacco Company and                       undertake a Minnesota choice-of-law analysis to
Thompson v. American Tobacco Company. In both of             determine whether Minnesota law (or plaintiffs'
these cases, courts held that an abundance of                prediction thereof) or the laws of all fifty states
individual issues destroyed the cohesion of proposed         would apply to the medical monitoring claim. As
(b)(2) classes. See Barnes, 161 F.3d at 143;                 discussed previously in the Court's Rule 23(b)(3)
Thompson, 189 F.R.D. at 557. Neither of these cases          analysis, the "advancement of the forum's
is analogous here, however. Both Barnes and                  governmental interests" is the most significant
Thompson dealt with complicated issues of nicotine           choice-influencing factor. See Nodak, 604 N.W.2d at
addiction and smoking-related illnesses. See Barnes,         94 (applying Minnesota's choice of law rules);
161 F.3d at 143; Thompson, 189 F.R.D. at 553-54. In          Nesladek, 46 F.3d at 738-41(same). The Court is
this case, the monitoring class does not present             mindful, however, that other states have consciously
similar complex issues.                                      developed      different   standards     for    medical
                                                             monitoring, or have not adopted such an action at all.
 Although the factual issues do not present sufficient       These states' interests in applying their laws to the
individual questions that would defeat cohesiveness,         medical device industry within their borders is at
as with the Rule 23(b)(3) analysis, the Court must           least as strong as Minnesota's interest in doing so. See
also address the issue of variance in state law. St.         Diet Drugs, 1999 WL 673066 at *15. Therefore, the
Jude notes that not all states have recognized medical       Court again finds that Minnesota's governmental
monitoring as an independent cause of action, and            interests do not outweigh those of other states, and
that those states that have recognized such an action        the Court will apply the law of the state in which
have varying legal elements. St. Jude contends that          each class member's claim arose to all members of
this variation also undermines cohesiveness, barring         the monitoring class.
certification of the monitoring class under Rule
23(b)(2).                                                     *16 St. Jude argues that such diversity of state law
                                                             destroys the cohesiveness of the monitoring class and
 Plaintiffs argue that Minnesota would join an               bars certification under Rule 23(b)(2). See Rezulin,
emerging majority of states in adopting the medical          210 F.R.D. at 75 (holding that variation in state law
monitoring elements outlined by the Pennsylvania             on monitoring prevented certification). Rezulin, a
Supreme Court in Redland Soccer Club v.                      drug case, involved many complicated facts, "as class
Department of the Army, 696 A.2d 137 (Pa.1997).              members took [the drug] at different times, for
See Barnes, 161 F.3d at 138-39, 146 (applying the            different periods, in different amounts, and while
Redland elements). Implicit in this argument is              undergoing different levels of ... health monitoring."
plaintiffs' contention that Minnesota law alone should       Id. at 66. Another drug case, however, Diet Drugs,
apply to the monitoring claim. As discussed in the           held that these challenges are not insurmountable.
context of Rule 23(b)(3), however, this Court cannot         Diet Drugs, 1999 WL 673066 at *16. In that case,
simply apply the law of one particular state without         "the class members' ingestion of the Diet Drugs was
regard to whether a given class member's cla im arises       discrete and ascertainable[, and the] dates, duration
in a jurisdiction that recognizes such a legal theory,       and amounts of ingestion and the combination of
or what the elements for such a theory may be. See           drugs ingested [could] be confirmed through the use
Diet Drugs, 1999 WL 673066 at *14. The Court must            of fact sheets and medical records." Id. at *15. The
consider that some jurisdictions do not even                 present case involves a discrete and ascertainable
recognize a cause of action for medical monitoring,          number of valve recipients. It is known exactly how
while others have varying requirements for such a            long each person had the Silzone valve and the
claim. The court in Diet Drugs faced a similar               circumstances of the implant. These facts are more
situation, and recognized that a real conflict exists        readily ascertainable than the drug-related
between laws modeled on the Redland elements,                information in Diet Drugs, and certainly more so than
which plaintiffs propose for this case, and other states     in Rezulin. [FN18] The Diet Drugs court determined
which, for instance, may require evidence of physical        that applying the laws of 50 states to a 23(b)(2) class
injury for a monitoring claim. See id. at *15 (citing        action does not destroy cohesiveness of the class and
Louisiana's law barring plaintiffs who cannot                does not necessarily render the class unmanageable.

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Id. at *16. The court instead determined that the case      action with subclasses grouped according to
could be managed by creating subclasses "dependant          categories of varying state laws. Therefore, the Court
on whether the elements of medical monitoring or the        will require such briefing according to a schedule
underlying legal action significantly differ." Id. The      determined after discussion with counsel. As in the
court in Propulsid recognized this approach, but            Diet Drugs case, the court anticipates creating
could not grant conditional certification because Fifth     subclasses based upon the variance of both medical
Circuit law does not permit it. This Court is aware of      monitoring law and variances in the underlying
no similar prohibition in the Eighth Circuit. This          claims of strict liability, negligence, and breach of
Court accordingly finds the approach in Diet Drugs          warranties, for which monitoring serves as a remedy
both persuasive and appropriate in the present case.        in some jurisdictions. See id. at *17.
[FN19] As with the classes under Rule 23(b)(3), the
Court will therefore conditionally certify the              3. Rule 23(b)(1)(A)--Monitoring Class Only
monitoring class pursuant to Rules 23(b)(2) and
(c)(4).                                                      Plaintiffs also seek certification of the monitoring
                                                            class pursuant to Rule 23(b)(1)(A). This rule provides
                                                            for class certification when separate actions would
         FN18. As with its argument about injunctive        create a risk of inconsistent or varying adjudications
         relief, St. Jude primarily relies here upon        that would establish incompatible standards of
         tobacco cases, which involve issues of             conduct for the party opposing the class.
         nicotine addiction and smoking-related             Fed.R.Civ.P. 23(b)(1)(A). The rule is designed to
         illnesses. See Barnes v. American Tobacco          avoid situations where different results in separate
         Co., 161 F.3d 127 (3d Cir.1998); Thompson          actions would impair the opposing party's ability to
         v. American Tobacco Co., 189 F.R.D. 554            pursue a uniform continuing course of conduct.
         (D.Minn.1999). These issues, however, are          Telectronics, 172 F.R.D. 271, 284 (S.D.Ohio 1997)
         even less susceptible to class treatment and       (quoting 7A Charles A. Wright, Arthur R. Miller, &
         are more likely to destroy cohesiveness. See       Mary Kay Kane, Federal Practice & Procedure:
         In re Diet Drugs Prod. Liability Lit., Civ.        Federal Rules of Civil Procedure § 1773 (2d
         No. A. 98-20626, 1999 WL 673066 (E.D.Pa.           ed.1986)).
         Aug. 26, 1999) (describing how extreme
         factual variations undermine cohesiveness in        *17 The Court finds that this case is not suitable for
         tobacco litigation). The facts of this case are    certification under       Rule 23(b)(1)(A) because
         far more certain, and therefore these tobacco      plaintiffs are not suing for different or incompatible
         cases do not undermine certification of the        relief. See Fogie v. Rent-A-Center, 867 F.Supp. 1398,
         monitoring class.                                  1403 (D.Minn.1993) (holding that certification under
                                                            23(b)(1)(A) is not appropriate where plaintiffs do not
                                                            seek incompatible relief). Although a monitoring
         FN19. As in Diet Drugs, the Court envisions        program may be tailored differently to various
         that Class I will be broken down into at least     members of Class I, these are matters of program
         two sub-groups of plaintiffs: those who are        administration, and do not affect the character or the
         asymptomatic but who may have some                 relief that Class I seeks. Furthermore, Rule
         injury that is presently unknown, and those        23(b)(1)(A) was designed to protect the party
         who have some known injury (that has not           opposing certification--here, St. Jude--and at least
         yet required explantation) but who have not        one decision in this District has found that a
         filed a personal injury claim. Also as in Diet     defendant waives protection of the rule by opposing
         Drugs, a consequence of this sub-classing is       certification. Id. See 5 Moore's Federal Practice §
         that class members who are asymptomatic            23.40. Here, St. Jude opposes certification under
         and whose claims arise in jurisdictions that       23(b)(1)(A). For these reasons, the Court concludes
         require injury for a tort action to proceed        that the monitoring class should not be certified
         will have to be excluded from the class            under that rule.
         entirely. See id. at *16.
                                                            B. Minnesota Consumer Protection & Deceptive
                                                            Trade Practices Statutes
 As discussed in the Rule 23(b)(3) analysis, the Court
finds that the parties have not sufficiently addressed       Finally, plaintiffs seek certification of both classes
the question of how the Court would manage a class          for violations of Minnesota statutes governing false

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statements in advertising, Minn.Stat. § 325F.67,              N.W.2d 2 (Minn.2001), none of these statutes contain
unlawful consumer practices, Minn.Stat. § 325F.69,            any language restricting who may sue for violation of
and deceptive trade practices, Minn.Stat. § 325D.44.          the consumer protection laws. Id. at 8. Likewise,
St. Jude argues that Minnesota law should not                 plaintiffs' claims under Minnesota's Uniform
presumptively apply to all class members, and that            Deceptive Trade Practices Act, Minn.Stat. §
even if it did, plaintiffs must demonstrate individual        325.D44, are authorized by a provision of that law
reliance in each case. These two factors, St. Jude            permitting "a person likely to be damaged" by a
contends, would overwhelm any common issues and               deceptive trade practice to seek injunctive relief.
make a class action unmanageable.                             Minn.Stat. § 325D.45, subd. 1 (emphasis added).
                                                              [FN21] In the present case, it is clear that plaintiffs
 First, St. Jude argues that plaintiffs cannot presume        meet these definitions of "any person" or "a person,"
that Minnesota law applies to all class members, who          and may therefore bring suit under Minnesota law.
are citizens of various states. As it did in the 23(b)(2)     The fact that individual plaintiffs hail from other
and (b)(3) contexts, St. Jude contends that plaintiffs--      states is immaterial. [FN22] Plaintiffs seek relief
and this Court--must undertake a state-by-state               under particular Minnesota statutes. In the absence of
analysis to determine which law applies. Such an              evidence that plaintiffs do not have standing to sue--
exhaustive inquiry, St. Jude claims, would "swamp"            and St. Jude provides none--the Court finds no reason
any common issues and make either class impossible            to deny plaintiffs their chosen claim of action.
to certify. Although these arguments affected the             Minnesota law may therefore apply to the classes'
Court's analysis of common law claims under Rules             consumer protection and deceptive trade practices
23(b)(2) and (b)(3), they do not apply with equal             allegations.
force here. This is because in contrast with plaintiffs'
common law claims of negligence, strict liability,
monitoring, and breach of warranty, these claims are                   FN21. St. Jude correctly notes that relief
brought under specific provisions of Minnesota's                       under the deceptive trade practices act
consumer protection and deceptive trade practices                      ("DTPA"), Minn.Stat. § 325D.44, is limited
statutes.                                                              to injunctive remedies. See Tuttle v.
                                                                       Lorillard Tobacco Co., Civ. No. 99-1550,
 The District of Minnesota addressed this precise                      2001 WL 821831 at *4 (D.Minn. July 5,
question in the Lutheran Brotherhood case. In that                     2001) (stating that "courts have uniformly
case, plaintiffs sought certification under Rule                       held that the sole remedy for violations of
23(b)(3) for alleged violations of a provision of                      the DTPA is injunctive relief," and citing
Minnesota's consumer protection statute. [FN20] See                    cases). This count of plaintiffs' complaint
Lutheran Brotherhood, 201 F.R.D. at 460- 64. The                       seeks both monetary relief and injunctive
court rejected the contention that there were any                      relief, in the form of monitoring. The Court
impediments to applying Minnesota's consumer                           will therefore construe the § 325D.44
protection statutes to a nationwide class, noting that                 allegations as applying only to the request
these statutes explicitly permit "any person" injured                  for monitoring.
by violations of the statutes to bring suit. Id. at 461 n.
1.
                                                                       FN22. To the extent St. Jude argues that
                                                                       applying Minnesota law to the classes is
         FN20. The statute was Minn.Stat. §                            unconstitutional, the Court disagrees. To
         325F.69, which plaintiffs also allege in this                 apply Minnesota law here in a constitutional
         case.                                                         manner, the Court must find only that
                                                                       Minnesota has "a significant contact or
                                                                       significant aggregation of contacts, creating
 *18 This holding is foursquare with the present case.                 state interests, such that choice of its law is
Plaintiffs' claims under provisions of Minnesota's                     neither arbitrary nor fundamentally unfair."
consumer protection statute, Minn.Stat. § § 325F.67                    Phillips Petroleum Co. v. Shutts, 472 U.S.
and 325F.69, find support in another provision of                      797, 818 (1985); Lutheran Brotherhood, 201
Minnesota law that permits "any person" injured by a                   F.R.D. at 461 n. 1. Here, as the Court has
violation of these statutes to bring suit. Minn.Stat. §                discussed, the parties--especially the
8.31, subd. 3a. As the Minnesota Supreme Court held                    defendant, St. Jude--have at least a
in Group Health Plan, Inc. v. Philip Morris Inc., 621                  significant contact with Minnesota. St. Jude

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         is headquartered in Minnesota and according        the threshold requirements of Rule 23(a).
         to plaintiffs, "much of the conduct relevant       Furthermore, the Court finds that common issues of
         to the statutory consumer fraud claims             law and fact predominate in both classes, and that a
         occurred in or emanated from Minnesota."           class action is likely the superior way to adjudicate
         See Lutheran Brotherhood, 202 F .R.D. at           the claims of both classes. Therefore, the Court
         461 n. 1. Therefore, the Court finds that          conditionally certifies plaintiffs' common law claims
         Minnesota has a significant interest in this       for both Class I and Class II pursuant to Rule
         litigation, and that application of its law is     23(b)(3). Likewise, the Court conditionally finds that
         neither arbitrary nor fundamentally unfair.        Class I is cohesive, and conditionally certifies the
                                                            monitoring class pursuant to Rule 23(b)(2). The
                                                            Court further determines that separate actions would
 Second, St. Jude argues that even if Minnesota law         not create a risk of inconsistent or varying
does apply, common questions will not predominate           adjudications that would establish incompatible
because each individual plaintiff must prove reliance       standards of conduct for St. Jude, and therefore
under Minnesota's consumer protection statute. This         refuses to certify Class I pursuant to Rule
proposition directly contradicts Minnesota law. It is       23(b)(1)(A). Finally, the Court determines that
by now well established that plaintiffs need not            common issues of law and fact predominate in
establish reliance when seeking injunctive relief           plaintiffs' claims under Minnesota's consumer
under Minnesota's consumer fraud and deceptive              protection and deceptive trade practices acts, and that
trade practices statutes. Thompson, 189 F.R.D. at           a class action is the superior method of adjudicating
552-53 (construing the same statutes at issue in this       those claims. Therefore, the Court certifies plaintiffs'
case, Minn.Stat. § §         325D.44, 325F.67, and          claims under those statutes pursuant to Rule 23(b)(3).
325F.69). More recently, the Minnesota Supreme
Court broadened the scope of statutory claims under                                ORDER
these statutes in Group Health, holding that a
plaintiff need not plead individual consumer reliance        Based on the foregoing, all the records, files, and
on a defendant's wrongful conduct to state a claim for      proceedings herein, IT IS HEREBY ORDERED that
damages. Group Health, 621 N.W.2d at 12; Lutheran           plaintiffs' Motion for Class Certification [Docket No.
Brotherhood, 201 F.R.D. at 462-63. Rather, plaintiffs       49] is GRANTED IN PART and DENIED IN PART
seeking damages need only establish a "causal nexus         as detailed in the "Conclusion" section of the
between their damages and the defendant's wrongful          Memorandum Opinion accompanying this Order.
conduct." Group Health, 621 F.R.D. at 14; Lutheran
Brotherhood, 201 F.R.D. at 463.                             2003 WL 1589527 (D.Minn.)

 In this case, the Court finds that plaintiffs have
pleaded and presented evidence that their damages           Motions, Pleadings and Filings (Back to top)
stem at least in part from St. Jude's marketing
material that, according to plaintiffs, claimed that
Silzone effectively prevented endocarditis. (See, e.g.,     • 2004 WL 884537 (Trial Motion, Memorandum and
Pl.Ex. 59-60.) Plaintiffs have also demonstrated that       Affidavit) Plaintiffs' Opposition to St. Jude Medical's
these common issues of fact predominate over                Application for Order Certifying Order Re
individual issues, as do the common questions of law        Preemption for Interlocutory Appeal (Apr. 12, 2004)
regarding St. Jude's alleged violation of Minnesota's
consumer protection and deceptive trade practices           •               0:01MD01396                   (Docket)
statutes. The Court also finds that given the common        (Apr. 19, 2001)
issues and the fact that proof of reliance is
unnecessary, class action treatment is a superior           END OF DOCUMENT
mechanism for resolving these claims. Accordingly,
the Court finds that plaintiffs' consumer protection
claims may be certified as class actions under Rule
23(b)(3) for both Class I and Class II.

                   CONCLUSION

*19 The Court finds that both proposed classes meet

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